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                                                                                  E-FILED
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                                                             Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

WILLIAM M. WERNER,                     )
                                       )
           Plaintiff,                  )
                                       )      Case No. 18-cv-3190
     v.                                )
                                       )
AUTO-OWNERS INSURANCE                  )
COMPANY,                               )
                                       )
           Defendant.                  )

                        OPINION AND ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     The Court conducted a bench trial on October 13, 2021 on the

issue of damages to be awarded to Plaintiff William Werner. Taking

into account the evidence presented at trial, the Court finds that

Defendant Auto-Owners Insurance Company (“Auto-Owners”) is

liable to Plaintiff in the amount of $3,966.67

                                 I.   Facts

     On July 31, 2018, Plaintiff filed a two-count complaint against

Defendant. Compl. (d/e 1). Count One of the Complaint alleged

Defendant breached its contract with Plaintiff when it refused to

pay Plaintiff his insurance claim filed after a fire destroyed real



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estate possessed by Plaintiff and insured by Defendant after the real

estate had been judicially sold at a foreclosure auction but before

the sale had been confirmed. Id. at pp. 4–5. Count Two alleged

Defendant acted unreasonably and vexatiously in violation of 215

ILCS 5/155 when it refused to pay Plaintiff’s claim. Id. at pp. 5–8.

Plaintiff sought $182,700 in damages on Count One and $109,620

in damages on Count Two, for a total of $292,320. Id. at pp. 5 & 8.

         On April 9, 2021, the Court allowed in part and denied in part

both Defendant’s and Plaintiff’s motions for summary judgment.

Op. Summ. J. (d/e 41).1 The Court held that, under Plaintiff’s

insurance policy and Illinois law, Plaintiff held an insurable interest

in Plaintiff’s right to possess the real estate after the judicial sale on

July 21, 2017 until 30 days after the confirmation of the sale on

November 26, 2017. Id. at p. 15–16 (“The Court finds that Auto-

Owners had an obligation under the Policy to pay Werner for the

value of his insurable interest at the time of the Fire. Werner is

entitled to partial summary judgment on the issue of liability for

breach of the Policy under Count I of the Complaint.”). The Court



1   The detailed undisputed material facts of the case are stated in the Court’s Opinion on
    Summary Judgment. In the interest of brevity, the Court does not repeat them here.


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also held that Plaintiff “could only recover the value of the loss to

his right to possession of the Residence,” so “[a]n issue of fact exists

regarding the value of Werner’s right to possess the Residence from

July 31, 2017, the date of the Fire, until November 26, 2017, 30

days after the October 27, 2017 Confirmation Order.” Id. Lastly,

the Court granted Defendant summary judgment as to Count Two

of the Complaint, holding that Defendant “took a reasonable legal

position on an unsettled issue of law” and therefore “did not act in a

vexatious and unreasonable manner.” Id. at p. 17.

     On October 13, 2021, a bench trial was held before the Court

after the parties waived their jury demands. Pretrial Order (d/e 56)

p. 5. The only issue of fact at trial was the amount of damages to

which Plaintiff was entitled under the policy for the value of the loss

in Plaintiff’s right to possess the real estate from July 21, 2017—the

date the real estate was destroyed by the fire—to November 26,

2017—30 days after confirmation of the judicial sale of the

property.

     At trial, Plaintiff testified that the residence covered by the

insurance policy had two bedrooms, one bathroom, and

approximately 1,200 square feet of living space and an unfinished


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basement. Unofficial Trial Tr. 6:2–22. Plaintiff also testified that,

while there was a detached garage on his property, the garage was

not destroyed or damaged by the fire. Id. at 7:4–25. Plaintiff then

testified, over Defendant’s objection, to Plaintiff’s Exhibit 1, which

showed that, at the time of Plaintiff’s bankruptcy proceeding,

Plaintiff had been paying $1,445.58 per month in mortgage

payments despite $1,658.79 being due. Id. at 10:5–11:22

(referencing Pl.’s Ex. 1 at p. 26 & 32. Plaintiff testified that he also

paid approximately $150 per month in the real estate taxes. Id. at

13:7–8. Plaintiff testified, over Defendant’s objection, that his total

payments at the time of the bankruptcy proceeding were

approximately $1,800 per month. Id. at 13:13–14:2.

     On cross-examination, Plaintiff again testified that his monthly

payments prior to the bankruptcy were around $1,400 per month.

Unofficial Trial Tr. 14:18–21. Plaintiff went on to state that the

bankruptcy was ultimately dismissed because the mortgage and

bankruptcy payments were too high for Plaintiff to afford, and that,

after the bankruptcy was dismissed, his payments were around

$1,468 per month. Id. at 15:1–22.




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     Defendant called one expert witness at trial: Kristina Clore, a

real estate appraiser. Ms. Clore first testified as to what tools

appraisers use to determine the fair market value of rental

residential property. Unofficial Trial Tr. 20:17–21. Factors include,

according to Ms. Clore, the number of bedrooms and bathrooms in

the property, the overall condition, any garage on the property, and

other comparable rentals in the region. Id. For the fair market

value of a partial month of rent, Ms. Clore stated that she would

simply divide the total monthly rent by the typical number of days

in a month. Id. at 20:25–21:3.

     Ms. Clore then testified to Defendant’s Exhibit 1. See Def.’s

Ex. 1. Exhibit 1 shows a comparable rent schedule for various

single-family homes in Springfield, Illinois which Ms. Clore used to

conduct a fair market rental appraisal for Plaintiff’s property during

the time period between the judicial sale of the real estate and 30

days after the confirmation of the sale. Id.; Unofficial Trial Tr. 22:6–

23:21. The comparable rental schedule shows five properties which

Ms. Core believed were comparable to Plaintiff’s property before

Plaintiff’s property was destroyed by the fire.




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     The first property listed in Exhibit 1 is Plaintiff’s property

before it was destroyed by the fire. Exhibit 1 lists the property as a

two-bedroom, one-bathroom house in average condition with 1,200

square feet of living space and no garage. Def.’s Ex. 1 at “Subject.”

While Plaintiff testified that there was a garage on the property prior

to the fire, Plaintiff also stated that the garage was damaged in a

tornado before the fire and that he eventually tore the garage down.

Unofficial Trial Tr. 7:5–25. Ms. Clore also testified that she relied

on a deposition she believed Plaintiff gave in concluding, for

appraisal purposes, Plaintiff’s property did not have a garage,

though no deposition was ever admitted into evidence. Therefore,

the Court finds that Ms. Clore properly excluded the garage from

her calculation.

     The rest of the properties listed are the properties Mr. Clore

determined were comparable to Plaintiff’s property. Comparable

One lists a two-bedroom, two-bathroom house in average-to-good

condition with 1,500 square feet of living space and a three-stall

detached garage and a fair market rental value of $1,050 per

month. Id. at “Comparable No. 1.” Comparable Two lists a two-

bedroom, one-bathroom house in average condition with 851


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square feet in living space and a one-stall attached garage and a fair

market rental value of $945 per month. Id. at “Comparable No. 2.”

Comparable Three lists a two-bedroom, one-bathroom house in

average condition with 1,500 square feet in living space and a two-

stall attached garage and a fair market rental value of $1,045 per

month. Id. at “Comparable No. 3.” Comparable Four lists a two-

bedroom, one-and-a-half-bathroom house in average condition with

1,441 square feet of living space and a one-stall attached garage

and a fair market rental value of $800 per month. Id. at

“Comparable No. 4.” Finally, Comparable Five lists a three-

bedroom, one-bathroom house in average condition with 840

square feet of living space and a two-stall detached garage and a

fair market rental value of $1,025 per month. Id. at “Comparable

No. 5.”

     Ms. Clore testified that she used the above information to

determine the amount of damages to which she thought Plaintiff

would be entitled under the insurance policy. Ms. Clore first

concluded that the estimated fair market rental value of Plaintiff’s

property was $945 per month. Unofficial Trial Tr. 29:14–15; Def.’s

Ex. 1 at “Final Reconciliation of Market Rent.” Ms. Clore then


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divided the $945 by an average of 30 days per month, to arrive at a

rental value of $32 per day. Unofficial Trial Tr. 29:5–15; Def.’s Ex.

1 at “Comment Addendum.” Finally, Ms. Clore multiplied the $32

per day by the 119 days between July 21, 2017 and November 27,

2017 to arrive at a total value of $3,808. Unofficial Trial Tr. 30:16–

31:6.

        Ms. Clore testified that Plaintiff’s total damages would be the

$3,808 in fair market rental value because “Mr. Werner had a right

to possess the property during that amount of time.” Id. at 31:9–

10. Ms. Clore stated that Plaintiff’s interest in the right to possess

the real estate from July 21, 2017 until November 26, 2017 was the

property interest a tenant would have had in the property had the

real estate been rental property. Id. at 31:17–32:10. Therefore, in

Ms. Clore’s expert opinion, the value of renting the property would

be the same value as Plaintiff’s right to temporary possession of the

property. Id.

                                 II.   Analysis

        The Court agrees with Defendant’s witness’ testimony about

the method used to calculate damages but disagrees as to the

amount to be awarded. As the Court held in its Opinion on


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Summary Judgment (d/e 41), from the time of the fire on July 21,

2017 to the confirmation of the judicial sale on November 26, 2017,

Plaintiff had “only the limited right to temporary possession of

residential real estate until 30 days after confirmation.” Op. Summ.

J. at p. 15. As Ms. Clore testified, and Plaintiff did not contest,

Plaintiff’s sole right to temporary possession constituted a leasehold

right akin to a rental tenant’s rights rather than the fee simple

rights afforded to owners of property. Unofficial Trial Tr. 31:17–

32:4. The Court finds that awarding damages using the cost of

Plaintiff’s prior mortgage payments would over-value Plaintiff’s

insurable interest because Plaintiff’s interest in the property was

reduced to the sole right of temporary possession after the judicial

sale, and because Plaintiff did not make the full payments. See Pl.’s

Ex. 1 at p. 32. Therefore, the appropriate amount of damages to be

awarded to Plaintiff for the sole right to temporary possession is the

fair market rental value of the property.

     The Court finds that the value of Plaintiff’s right to temporary

possession from July 21, 2017 to November 26, 2012 was

$3,966.67. Ms. Clore testified to the five comparable properties

listed in Defendant’s Exhibit 1. Exhibit 1 states that the


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determined fair market rental value of $945 for Plaintiff’s real estate

was estimated using the $800 to $1,050 range of the rental values

of the comparable properties. Def.’s Ex. 1 at “Final Reconciliation of

Market Rent.” The Final Reconciliation of Market Rent section of

Exhibit 1 states that Plaintiff’s rent value was estimated “towards

the upper end but moderated downward due to lack of garage,” and

that “[t]he final rent of $945 is bracketed by four of the five rent

comparables.” Id.

     However, the Court finds that the fair market rental value for

the property, using the factors to which Ms. Clore testified, is

$1,000 per month. The Court notes that $945 per month is the

same fair market rental value as Comparable Two. Def.’s Ex. 1 at p.

1. While that property and Plaintiff’s are equal in the number of

bedrooms and bathrooms, Comparable Two is only 851 square feet

while Plaintiff’s real estate was 1,200 square feet. Id. Comparable

One also has the same number of bedrooms and bathrooms as

Plaintiff’s had, but Comparable One is 1,500 square feet and valued

at $1,050 per month. Id. Comparable Three also has the same

number of bedrooms and bathrooms and is also 1,500 square feet

and valued at $1,045 per month. Id.


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     Ms. Clore testified that “renters tend to look at features such

as bedrooms and bathrooms more so than actual size.” Unofficial

Trial Tr. 36:11–12. So where the number of bedrooms and

bathrooms are equal, the Court finds that the fair market rental

value turns on the comparable square footage of the properties.

Since Comparable Two is approximately 350 square feet less than

the 1,200 square feet that Plaintiff’s real estate was in size, and

Comparables One and Three are approximately 300 square feet

larger, the Court finds that an appropriate fair market rental value

would be approximately midway between Comparable Two’s $945

per month and Comparable One’s and Comparable Three’s

approximately $1,050 per month. Therefore, the Court finds that

the fair market rental value of Plaintiff’s property would have been

$1,000 per month.

     Using the $1,000 monthly amount, the Court finds the

following calculation to accurately reflect the amount of damages

owed to Plaintiff by Defendant: $1,000 fair rental value per month,

divided by an average of 30 days per month, multiplied by 119 days

between July 31, 2017 and November 26, 2017, the total time of




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Plaintiff’s right to temporary possession. That calculation brings

the total amount to be awarded to Plaintiff to $3,966.67.

                            III.   Conclusion

IT IS THEREFORE ORDERED

  (1)   The Court awards Plaintiff William Werner $3,966.67 in
        damages against Defendant Auto-Owners Insurance
        Company.

  (2)   The clerk is DIRECTED to enter final judgment in favor
        of Plaintiff William Werner and against Defendant Auto-
        Owners Insurance Company in the amount of
        $3,966.67.

  (3)   The clerk is DIRECTED to close this case.

ENTERED: October 19, 2021.
FOR THE COURT:
                          /s/ Sue E. Myerscough
                          SUE E. MYERSCOUGH
                         UNITED STATES DISTRICT JUDGE




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